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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                OSG Holdings, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  900 Kimberly Drive
                                  Carol Stream, IL 60188
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  DuPage                                                        Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://everview.io/


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
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Debtor    OSG Holdings, Inc.                                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5223

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check        Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.

                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District   District of Delaware           When       8/06/22                    Case number   22-10718-JTD
                                                 District                                  When                                  Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 2
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Debtor    OSG Holdings, Inc.                                                                            Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      SEE ATTACHED RIDER 1                                         Relationship

                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                           50-99                                                                                     50,001-100,000
                                                                                        5001-10,000
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
                            Case 23-90799 Document 1 Filed in TXSB on 10/15/23 Page 4 of 27
Debtor    OSG Holdings, Inc.                                                                        Case number (if known)
          Name


16. Estimated liabilities          $0 - $50,000                                    $1,000,001 - $10 million                 $500,000,001 - $1 billion
                                   $50,001 - $100,000                              $10,000,001 - $50 million                $1,000,000,001 - $10 billion
                                   $100,001 - $500,000                             $50,000,001 - $100 million               $10,000,000,001 - $50 billion
                                   $500,001 - $1 million                           $100,000,001 - $500 million              More than $50 billion




          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on       10/15/2023
                                                   MM / DD / YYYY


                              X   /s/ Keith A. Maib                                                       Keith A. Maib
                                  Signature of authorized representative of debtor                        Printed name

                                  Title   Chief Restructuring Officer




18. Signature of attorney     X    /s/ Marcus A. Helt                                                      Date    10/15/2023
                                  Signature of attorney for debtor                                                MM / DD / YYYY

                                  Marcus A. Helt
                                  Printed name

                                  McDermott Will & Emery LLP
                                  Firm name

                                  845 Texas Avenue, Suite 4000
                                  Houston, TX 77002
                                  Number, Street, City, State & ZIP Code


                                  Contact phone     (214)295-8000                 Email address      mhelt@mwe.com

                                  24052187 TX
                                  Bar number and State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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                                             Rider 1

                     Pending Bankruptcy Cases Filed by the Debtor and
                      Certain Affiliates and Subsidiaries of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a
petition in the United States Bankruptcy Court for the Southern District of Texas for relief under
chapter 11 of title 11 of the United States Code. The Debtors have moved for joint administration
of these cases for procedural purposes only under the case number assigned to the chapter 11 case
of OSG Holdings, Inc.

                Debtor Name                                        EIN Number
       Applied Information Group, Inc.                              XX-XXXXXXX
   Diamond Marketing Solutions Group, Inc.                          XX-XXXXXXX
    DoublePositive Marketing Group, Inc.                            XX-XXXXXXX
            E-statement.com Corp.                                   XX-XXXXXXX
             Globalex Corporation                                   XX-XXXXXXX
             JJT Enterprises, Inc.                                  XX-XXXXXXX
      Mansell Group Holding Company                                 XX-XXXXXXX
             Mansell Group, Inc.                                    XX-XXXXXXX
     Metrogroup PD-WI Acquisition, LLC                              XX-XXXXXXX
         Microdynamics Corporation                                  XX-XXXXXXX
     Microdynamics Group Nebraska, Inc.                             XX-XXXXXXX
   Microdynamics Transactional Mail, LLC                            XX-XXXXXXX
       National Business Systems, Inc.                              XX-XXXXXXX
    National Data Services of Chicago, Inc.                         XX-XXXXXXX
             NCP Solutions, LLC                                     XX-XXXXXXX
          OSG Group Holdings, Inc.                                  XX-XXXXXXX
          OSG Group TopCo, LLC                                      XX-XXXXXXX
              OSG Holdings, Inc.                                    XX-XXXXXXX
       OSG Intermediate Holdings, Inc.                              XX-XXXXXXX
         Output Services Group, Inc.                                XX-XXXXXXX
       Payments Business Corporation                                XX-XXXXXXX
             The Pisa Group, Inc.                                   XX-XXXXXXX
          PPS Business Corporation                                  XX-XXXXXXX
                SouthData, Inc.                                     XX-XXXXXXX
                Telereach, Inc.                                     XX-XXXXXXX
           The Garfield Group, Inc.                                 XX-XXXXXXX
               WhatCounts, Inc.                                     XX-XXXXXXX
        Words, Data and Images, LLC                                 XX-XXXXXXX
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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION


In re:                                                    Chapter 11

OSG HOLDINGS, INC.,                                       Case No. 23-[_______] ([___])

                                  Debtor.

                         CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

the following are corporations, other than a governmental unit, that directly or indirectly own 10%

or more of any of the debtor’s equity interest:

                  Shareholder                       Approximate Percentage of Shares Held
         OSG Intermediate Holdings, Inc.                               100%
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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


In re:                                                               Chapter 11

OSG HOLDINGS, INC.,                                                  Case No. 23-[_______] ([___])

                                        Debtor.

                             LIST OF EQUITY SECURITY HOLDERS1

                                                     Address of                           Percentage of
          Equity Holder
                                                    Equity Holder                         Equity Held
    OSG Intermediate Holdings,                  900 Kimberly Drive
                                                                                                100%
              Inc.                             Carol Stream, IL 60188




1
    This list serves as the disclosure required to be made by the above-captioned debtor pursuant to Rule 1007 of the
    Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such equity as
    of the date of commencement of the chapter 11 case.
Debtor           OSG Holdings, Inc., et al.,.
                                                 Case 23-90799 Document 1 Filed in TXSB on 10/15/23 Case
                                                                                                     Page     8 of 27
                                                                                                         number (if known)




         Fill in this information to identify the case:
         Debtor name: OSG Holdings, Inc., et al.,
         United States Bankruptcy Court for the: Southern District of Texas
         Case number (If known):                                                                                                                                          Check if this is an
                                                                                                                                                                           amended filing

         Official Form 204
         Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured
         Claims and Are Not Insiders                                                     12/15
         A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any
         person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate
         collateral value places the creditor among the holders of the 50 largest unsecured claims. *


                                                                                                                                                                                                     Amount of unsecured claim
                                                                                                                           Nature of the claim                                if the claim is fully unsecured, fill in only unsecured claim amount. If claim
                                                                                                                           (for example, trade                                 is partially secured, fill in total claim amount and deduction for value of
                                                                                                                                                      Indicate if claim is
                                                                                                                           debts, bank loans,                                               collateral or setoff to calculate unsecured claim.
               Name of creditor and complete mailing address,                Name, telephone number, and email                                           contingent,
                                                                                                                               professional
                             including zip code                                 address of creditor contact                                            unliquidated, or
                                                                                                                                 services,
                                                                                                                                                           disputed
                                                                                                                             and government                                      Total claim, if            Deduction for
                                                                                                                                                                                partially secured                                    Unsecured claim
                                                                                                                                contracts)                                                                value of collateral
                                                                                                                                                                                                               or setoff


                                Wilmington Trust                         866-829-1928
     1                             PO Box 8955                                                                                  Mezz Agent                                                                                              $70,818,705
                            Wilmington, Delaware 19899




     2          Communisis Trustee (2011) Company Limited
                                                                                                                                                        Contingent and
                    Communisis House, Manston Lane                                                                              UK Pension                                                                                              $30,329,530
                                                                                                                                                         Unliquidated
                          Leeds, UK LS15 8AH




                       Pitney Bowes Presort Services Inc                  203-356-5000
     3                            Dept CH 14035                                                                                 Trade Claim                                                                                              $8,000,000
                                                                          pbsoftware.sales@pb.com
                           Palatine, Illinois 60055-4035




                                     Cenlar                                                                                                              Contingent,
                                                                                                                            General Unsecured
     4                           425 Phillips Blvd                       800-223-6527                                                                  Unliquidated, and                                                                 $3,903,805
                                                                                                                                 Claim
                             Ewing, New Jersey 08618                                                                                                       Disputed




                                 UST Global Inc
     5                           PO Box 894427                           949-716-8757                                           Trade Claim                                                                                              $2,964,882
                        Los Angeles, California 90189-4427




                                      Cenveo
     6                          PO Box 74007456                           773-267-3600                                          Trade Claim                                                                                              $1,164,214
                            Chicago, Illinois 60674-7456




                             Double Envelope Co.                          540-362-3311
     7                            PO Box 415000                                                                                 Trade Claim                                                                                               $792,779
                         Nashville, Tennessee 37241-7599                  inquire@double-envelope.com




                                      BlueCrest                           877-406-7704
     8                            PO Box 371896                                                                                 Trade Claim                                                                                               $791,576
                           Pittsburg, Pennsylvania 15250                  justin.odonnell@bluecrestinc.com




                                      Domtar                              803-802-7500
     9                             PO Box 281580                                                                                Trade Claim                                                                                               $547,123
                            Atlanta, Georgia 30384-1580                   communications@domtar.com




                           Amazon Web Services Inc
 10                               PO Box 84023                            206-508-4051                                          Trade Claim                                                                                               $527,487
                         Seattle, Washington 98124-8423




 *
         On a consolidated basis. The information herein shall not constitute an admission of liability by, nor is it binding on, any Debtors with respect to all or any portion of the claims listed below. Moreover, nothing herein shall affect any
         Debtor’s right to challenge the amount or characterization of any claim at a later date.


Official Form                                                                     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest                                                                                            page 1
Debtor     OSG Holdings, Inc., et al.,.
                                          Case 23-90799 Document 1 Filed in TXSB on 10/15/23 Case
                                                                                              Page     9 of 27
                                                                                                  number (if known)




                                                                                                                                                                     Amount of unsecured claim
                                                                                                 Nature of the claim                          if the claim is fully unsecured, fill in only unsecured claim amount. If claim
                                                                                                 (for example, trade                           is partially secured, fill in total claim amount and deduction for value of
                                                                                                                       Indicate if claim is
                                                                                                 debts, bank loans,                                         collateral or setoff to calculate unsecured claim.
         Name of creditor and complete mailing address,     Name, telephone number, and email                             contingent,
                                                                                                     professional
                       including zip code                      address of creditor contact                              unliquidated, or
                                                                                                       services,
                                                                                                                            disputed            Total claim, if             Deduction for
                                                                                                   and government
                                                                                                                                               partially secured                                     Unsecured claim
                                                                                                      contracts)                                                         value of collateral
                                                                                                                                                                             or setoff

                              Mac Papers                  800-334-7026
 11                         PO Box 745747                                                            Trade Claim                                                                                          $508,608
                     Atlanta, Georgia 30374-5747          mpec@macpapers.com



                           CINC Systems                   678-205-1465
 12                  1130 Hurricane Shoals Rd NE                                                     Trade Claim                                                                                          $455,443
                     Lawrenceville, Georgia 30043         pat@cincsystems.com



                           DMT Solutions                  877-406-7704
 13                       PO Box 74007412                                                            Trade Claim                                                                                          $445,966
                      Chicago, Illinois 60674-7412        justin.odonnell@bluecrestinc.com




                      GuidePoint Security, LLC
 14                        PO Box 844716                  877-889-0132                               Trade Claim                                                                                          $376,654
                  Boston, Massachusetts 02284-4716




                      Flexible Staffing Services          847-960-1200
 15                        2955 Eagle Way                                                            Trade Claim                                                                                          $225,629
                      Chicago, Illinois 60678-2955        info@fssstaff.com




                Black Knight Financial Services, Inc.     904-854-5100
 16                    601 Riverside Avenue                                                          Trade Claim                                                                                          $217,986
                     Jacksonville, Florida 32204          AskBlackKnight@BKFS.com




                            Open Text Inc
 17
                       C/O J.P. Morgan Lockbox
                                                          800-499-6544                               Trade Claim                                                                                          $199,142
                         24685 Network Place
                      Chicago, Illinois 60673-1246




 18              Computer Design & Integration LLC
                           PO Box 23246                   877-216-0133                               Trade Claim                                                                                          $174,150
                   New York, New York 10087-3246




 19                       Tension Envelope
                            PO Box 957385                 816-471-3800                               Trade Claim                                                                                          $170,861
                    St. Louis, Missouri 63195-7385




 20                      Bell and Howell, LLC
                            PO Box 743679                 800-961-7282                               Trade Claim                                                                                          $164,732
                     Atlanta, Georgia 30374-3679




 21                           Randstad
                             PO Box 2084                  312-201-9690                               Trade Claim                                                                                          $161,490
                   Carol Stream, Illinois 60132-2084




 22                          GoLiveSMS
                2046 Treasurer Coast Plaze, Suite A 119   949-682-9691                               Trade Claim                                                                                          $141,215
                      Vero Beach, Florida 32960




 23                           Solarwinds
                            PO Box 730720                 866-530-8040                               Trade Claim                                                                                          $137,528
                       Dallas, Texas 75373-0720




 24                  Xcel Staffing Solutions, LLC         847-261-2550
                       1541 S Waukegan Road                                                          Trade Claim                                                                                          $135,433
                       Waukegan, Illinois 60085           contact@thexcelgroup.com




Official Form                                                    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest                                                                            page 2
Debtor
                                      Case 23-90799 Document 1 Filed in TXSB on 10/15/23 Case
           OSG Holdings, Inc., et al.,.
                                                                                         Page     10 of 27
                                                                                              number (if known)




                                                                                                                                                                     Amount of unsecured claim
                                                                                                 Nature of the claim                          if the claim is fully unsecured, fill in only unsecured claim amount. If claim
                                                                                                 (for example, trade                           is partially secured, fill in total claim amount and deduction for value of
                                                                                                                       Indicate if claim is
                                                                                                 debts, bank loans,                                         collateral or setoff to calculate unsecured claim.
         Name of creditor and complete mailing address,     Name, telephone number, and email                             contingent,
                                                                                                     professional
                       including zip code                      address of creditor contact                              unliquidated, or
                                                                                                       services,
                                                                                                                            disputed            Total claim, if             Deduction for
                                                                                                   and government
                                                                                                                                               partially secured                                     Unsecured claim
                                                                                                      contracts)                                                         value of collateral
                                                                                                                                                                             or setoff


 25                   Insight Direct USA, Inc.
                      6820 South Harl Avenue              800-467-4448                               Trade Claim                                                                                          $125,535
                    Temple, Arizona 85283-4318




 26                     Foxpointe Solutions
                            171 Sully's Trail             844-726-8869                               Trade Claim                                                                                          $116,800
                      Pittsford, New York 14534


                                                                                                     Trade Claim

 27                Stolze Printing Company, Inc.
                         3435 Hollenburg Dr               314-209-1997                                                                                                                                    $107,636
                       Bridgerton, MO 63044


                                                                                                     Trade Claim

 28               Genesis Technology Solutions
                  856 RT 206, Building C, Suite 15        281-673-2800                                                                                                                                    $91,001
                      Hillsborough, NJ 08844


                                                                                                     Trade Claim

 29                 CBTS Technology Solutions
                       1507 Solutions Center              888-783-2506                                                                                                                                    $90,183
                         Chicago, IL 60677


                                                                                                     Trade Claim

 30                         Compuwerx
                         10406 W 134th St                 708-234-9510                                                                                                                                    $90,173
                        Palos Pack, IL 60464




Official Form                                                    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest                                                                            page 3
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                     Case 23-90799 Document 1 Filed in TXSB on 10/15/23 Page 11 of 27




                                Omnibus Action by Written Consent in Lieu of a Meeting
                                         of the Entities listed on Schedule A

                                                        October 14, 2023

                   The undersigned, being (i) all of the members of the restructuring committees, boards of
           directors or boards of managers, or (ii) the sole member, as applicable (in each case, a “Governing
           Body” and collectively, the “Governing Bodies”), of all of the entities listed on Schedule A (each,
           a “Company” and together, the “Companies”), hereby consent, in accordance with the
           organizational documents of each Company and applicable state laws, to the following actions and
           adopt the following resolutions with respect to each Company in lieu of a meeting effective as of
           the date hereof.

           Chapter 11 Filing

                  WHEREAS, each Governing Body has considered presentations by the financial and legal
           advisors of each of the Companies regarding the liabilities and liquidity situation of each of the
           Companies, the strategic alternatives available to it, and the effect of the foregoing on each
           Company’s business;

                   WHEREAS, each Governing Body has had the opportunity to consult with the financial and
           legal advisors of the Companies and fully consider each of the strategic alternatives available to the
           Companies;

                   WHEREAS, each Governing Body has had the opportunity to consult with the financial and
           legal advisors of the Companies and review the chapter 11 of title 11 of the United States Code (the
           “Bankruptcy Code”) preparation materials provided by the financial and legal advisors, and each
           Governing Body recommends the adoption of these resolutions;

                   WHEREAS, the Governing Body of OSG Group TopCo, LLC, a Delaware limited liability
           company (“TopCo”), previously established a Restructuring Committee (the “TopCo Restructuring
           Committee”), adopted an Amended and Restated Restructuring Committee Charter, and delegated
           to the TopCo Restructuring Committee certain duties, powers, and authority as described in such
           Amended and Restated Restructuring Committee Charter;

                   WHEREAS, the TopCo Restructuring Committee has recommended to the Governing Body
           of TopCo that the Governing Body of TopCo approve, adopt and ratify the Chapter 11 Filing
           resolutions set forth herein; and

                   WHEREAS, the Governing Bodies of each Company (other than TopCo, OSG Group
           Holdings, Inc. (“Group Holdings”) and OSG Intermediate Holdings, Inc. (“Intermediate”)) have
           previously, by separate Written Consent, approved and authorized (i) the solicitation of acceptances
           of a joint prepackaged plan of reorganization to be filed by such Companies under chapter 11 of
           the Bankruptcy Code (as may be amended or modified from time to time and including all exhibits
           and supplements thereto, the “Plan”) contemplated by that certain Amended and Restated
           Restructuring Support Agreement by and among certain of the Companies and the other parties
           thereto (the “Restructuring Support Agreement”), (ii) the execution, delivery, performance and
                                                               1
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           entry into the Restructuring Support Agreement and commencement of solicitation of the Plan
           pursuant to sections 1125(g) and 1126(b) of the Bankruptcy Code and rule 3018(b) of the Federal
           Rules of Bankruptcy Procedure, and (iii) the Plan and all actions contemplated under the Plan.

                   NOW, THEREFORE, BE IT RESOLVED, that in the business judgment of each Governing
           Body, it is desirable and in the best interests of each Company (including a consideration of its
           creditors and other parties in interest) that each Company shall be, and hereby is, authorized to file,
           or cause to be filed, a voluntary petition for relief (each a “Chapter 11 Case” and collectively, the
           “Chapter 11 Cases”) under the provisions of chapter 11 of title 11 of the Bankruptcy Code in the
           United States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”) and
           any other petition for relief or recognition or other order that may be desirable under applicable law
           in the United States;

                     FURTHER RESOLVED, that the Chief Executive Officer, any Vice President, any
          Assistant Vice President, any Chief Financial Officer, any Treasurer, any Chief Legal Officer, any
          Secretary or Assistant Secretary, any Manager, any Director, or any other duly appointed officer or
          other person acting at the direction of the foregoing officers of each Company (collectively, the
          “Authorized Signatories”), acting alone or with one or more other Authorized Signatories be, and
          they hereby are, authorized, empowered, and directed to execute and file on behalf of each Company
          all petitions, schedules, lists and other motions, papers, or documents, and to take any and all actions
          that they deem necessary, proper or convenient to obtain such relief, including, without limitation,
          any action necessary to maintain the ordinary course operation of each Company’s business; and

                    FURTHER RESOLVED, that all acts and deeds previously performed by any of the
          Authorized Signatories or officers of any of the Companies prior to the adoption of the foregoing
          recitals and resolutions that are within the authority conferred by the foregoing recitals and
          resolutions, are hereby ratified, confirmed, and approved in all respects as the authorized acts and
          deeds of the Companies.

           Retention of Professionals

                  WHEREAS, each Governing Body has considered presentations by the financial and legal
           advisors of each Company regarding the retention of such financial and legal advisors by each
           Company.

                   NOW, THEREFORE, BE IT RESOLVED, that each of the Authorized Signatories be, and
           hereby is, authorized, empowered and directed to employ the law firm of McDermott Will & Emery
           LLP (“McDermott”) as general bankruptcy counsel to represent and assist each Company in
           carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance each
           Company’s rights and obligations, including filing any motions, objections, replies, applications,
           or pleadings; and in connection therewith, each of the Authorized Signatories, with power of
           delegation, is hereby authorized, empowered and directed to execute appropriate retention
           agreements, pay appropriate retainers and fees, and to cause to be filed an appropriate application
           for authority to retain the services of McDermott;

                  FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
           authorized, empowered and directed to employ the firm of Accordion Partners, LLC (“Accordion”)
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           as financial advisor to represent and assist each Company in carrying out its duties under the
           Bankruptcy Code, and to take any and all actions to advance each of each Company’s rights and
           obligations; and in connection therewith, each of the Authorized Signatories, with power of
           delegation, is hereby authorized, empowered, and directed to execute appropriate retention
           agreements, pay appropriate retainers and fees, and to cause to be filed an appropriate application
           for authority to retain the services of Accordion;

                   FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
           authorized, empowered and directed to employ the firm of Houlihan Lokey Capital, Inc. (“HK”) as
           investment banker to represent and assist each Company in carrying out its duties under the
           Bankruptcy Code, and to take any and all actions to advance each Company’s rights and
           obligations; and in connection therewith, each of the Authorized Signatories, with power of
           delegation, is hereby authorized, empowered, and directed to execute appropriate retention
           agreements, pay appropriate retainers and fees, and to cause to be filed an appropriate application
           for authority to retain the services of HK;

                   FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
           authorized, empowered and directed to employ the firm of Kurtzman Carson Consultants LLC
           (“KCC”) as notice and claims agent to represent and assist each Company in carrying out its duties
           under the Bankruptcy Code, and to take any and all actions to advance each Company’s rights and
           obligations; and in connection therewith, each of the Authorized Signatories, with power of
           delegation, is hereby authorized, empowered, and directed to execute appropriate retention
           agreements, pay appropriate retainers and fees, and to cause to be filed appropriate applications for
           authority to retain the services of KCC;

                   FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
           authorized, empowered, and directed to employ any other professionals to assist each Company in
           carrying out its duties under the Bankruptcy Code; and in connection therewith, each of the
           Authorized Signatories, with power of delegation, is hereby authorized, empowered and directed
           to execute appropriate retention agreements, pay appropriate retainers and fees, and to cause to be
           filed an appropriate application for authority to retain the services of any other professionals as
           necessary, proper or convenient; and

                  FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is, with
           the power of delegation, authorized, empowered, and directed to execute and file all petitions,
           schedules, motions, lists, applications, pleadings, and other papers, and, in connection therewith, to
           employ and retain all assistance by legal counsel, accountants, financial advisors, and other
           professionals and to take and perform any and all further acts and deeds that each of the Authorized
           Signatories deem necessary, proper, or desirable in connection with each Company’s Chapter 11
           Case, with a view to the successful prosecution of such case.

           Debtor-in-Possession Financing, Cash Collateral, and Adequate Protection

                   WHEREAS, certain of the Companies are party to that certain (i) Amended and Restated
           First Lien Credit Agreement, dated as of August 31, 2022 (as may be amended, restated, amended
           and restated, modified or supplemented from time to time) (the “Existing First Lien Credit
           Agreement”), with the guarantors and lenders party thereto and Acquiom Agency Services LLC,
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           as the administrative agent (the “Prepetition First Lien Agent”); (ii) Credit Agreement, dated as of
           August 31, 2022 (as may be amended, restated, amended and restated, modified or supplemented
           from time to time) (“Existing Mezz Credit Agreement”), with the guarantors and lenders party
           thereto and Wilmington Trust, National Association, as the administrative agent (the “Prepetition
           Mezz Agent”); (iii) Forbearance Agreement and First Amendment to First Lien Credit Agreement,
           entered into as of June 7, 2023, with the lenders party thereto, as amended, restated, amended and
           restated, supplemented, or otherwise modified from time to time; and (iv) Forbearance Agreement
           and First Amendment to Mezzanine Credit Agreement, dated as of June 7, 2023, with the lenders
           party thereto, as amended, restated, amended and restated, supplemented, or otherwise modified
           from time to time; and

                   WHEREAS, reference is made to that certain Senior Secured Super-Priority Priming Term
           Loan Debtor-in-Possession Credit Agreement (together with any and all exhibits, schedules, and
           annexes thereto, the “DIP Credit Agreement”) providing for a secured term loan financing facility
           of up to $50 million in the aggregate (together with all exhibits, schedules, and annexes thereto, as
           amended, amended and restated, supplement or otherwise modified from time to time, the “DIP
           Facility”) dated as of, or about, the date hereof, that sets forth the terms and conditions of the debtor-
           in-possession credit financing to be provided to the Companies (other than TopCo, Group Holdings
           and Intermediate) by the lenders listed therein and party thereto from time to time (the “DIP
           Lenders”) and the administrative agent(s) thereto (the “DIP Agents”).

                   NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Governing Body of
           each Company (other than TopCo, Group Holdings and Intermediate), each such Company will
           receive benefits from the DIP Credit Agreement and the loans contemplated thereunder, and it is
           desirable and in the best interest of each such Company, each such Company’s equityholders,
           creditors, and other parties in interest that the form, terms, and provisions of (i) that certain DIP
           Credit Agreement and (ii) the Loan Documents (as defined in the DIP Credit Agreement) to which
           any and all of the Companies are a party, all other documents, agreements, instruments or
           certificates, intellectual property security agreements, joinders, and consents to be executed,
           delivered, or filed by each such Company in connection therewith, and the transactions
           contemplated by the DIP Credit Agreement and the other Loan Documents (as defined in the DIP
           Credit Agreement) (in each case including, without limitation, the borrowings and other extensions
           of credit thereunder, and the guaranties, liabilities, obligations, security interest granted and notes
           issued, if any, in connection therewith) be, and hereby are, authorized, adopted, and approved in
           substantially the form presented to the Governing Body of each Company (other than TopCo,
           Group Holdings and Intermediate), together with such changes as may be approved by the
           Authorized Signatories executing and delivering the same, such approval to be conclusively
           evidenced by such Authorized Signatory’s execution and delivery thereof;

                    FURTHER RESOLVED, that the Governing Body of each Company (other than TopCo,
           Group Holdings and Intermediate) has determined that it is necessary and in the best interest of
           each such Company’s business and affairs, each such Company’s equityholders, creditors, and all
           other parties in interest that the form, terms, and provisions of (i) that certain DIP Credit Agreement,
           in substantially the form presented to the Governing Body of each Company (other than TopCo,
           Group Holdings and Intermediate) to execute, deliver, and perform the DIP Credit Agreement and
           (ii) the other Loan Documents (as defined in the DIP Credit Agreement) to which it is a party, to
           perform such Company’s obligations thereunder and to consummate the transactions contemplated
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           thereby, including, without limitation, any borrowings, the performance of any guarantees and the
           granting of any security interests and liens, and each such Company’s execution and delivery of,
           and the incurrence and performance of its obligations in connection with the DIP Credit Agreement,
           including without limitation, the guarantee of the Obligations (as defined in the DIP Credit
           Agreement) thereunder, and any other Loan Document (as defined in the DIP Credit Agreement)
           to which it is a party, and the consummation of the transactions contemplated thereby or entered
           into in connection with the Loan Documents (as defined in the DIP Credit Agreement), including,
           without limitation, any borrowing by any Company under the Loan Documents (as defined in the
           DIP Credit Agreement), are hereby, in all respects, authorized and approved;

                   FURTHER RESOLVED, that each Company (other than TopCo, Group Holdings and
           Intermediate) will obtain benefits from (a) the use of collateral, including cash collateral, as that
           term is defined in section 363(a) of the Bankruptcy Code (the “Cash Collateral”), which is security
           for certain prepetition secured lenders (collectively, the “Prepetition Secured Lenders”) under the
           Existing First Lien Credit Agreement and/or the Existing Mezz Credit Agreement, and (b) the
           incurrence of debtor-in-possession financing obligations pursuant to the DIP Facility (collectively,
           the “DIP Financing”);

                   FURTHER RESOLVED, that in order to use and obtain the benefits of (a) the DIP
           Financing and (b) the Cash Collateral, and in accordance with section 363 of the Bankruptcy Code,
           each Company (other than TopCo, Group Holdings and Intermediate) will provide certain liens,
           claims, and adequate protection to the Prepetition Secured Lenders and to the DIP Lenders to secure
           the obligations of such Companies under the DIP Facility (the “DIP Obligations”) as documented
           in a proposed order in interim and final form (the “DIP Orders”), authorizing and approving the
           DIP Credit Agreement, the other Loan Documents (as defined in the DIP Credit Agreement), and
           the transactions thereby, and submitted for approval to the Bankruptcy Court;

                   FURTHER RESOLVED, that the form, terms, and provisions of the DIP Orders to which
           each Company (other than TopCo, Group Holdings and Intermediate) is or will be subject, and the
           actions and transactions contemplated thereby are hereby authorized, adopted, and approved, and
           each of the Authorized Signatories of each such Company be, and hereby is, authorized and
           empowered, in the name of and on behalf of each such Company, to take such actions and negotiate
           or cause to be prepared and negotiated and to execute, deliver, perform, and cause the performance
           of, each DIP Order and such other agreements, certificates, instruments, receipts, petitions, motions,
           or other papers or documents relating to the transactions contemplated thereby to which each such
           Company is or will be a party, including, but not limited to, any security agreements, pledge
           agreements, guaranty agreement, assignment documents, notices, financing statements, mortgages,
           intellectual property filings, tax affidavits, fee letters and other instruments as any of the DIP Agents
           or requisite DIP Lenders may reasonably request or as may be necessary or appropriate to create,
           preserve and perfect the liens of the DIP Agents or the Prepetition First Lien Agent and/or the
           Prepetition Mezz Agent, purported or required pursuant to any of the transaction documents to be
           created in the Collateral (as defined in the DIP Credit Agreement (or similar term defined therein)),
           such agreements with third parties (including, without limitation, bank agency agreements, lockbox
           agreements, control agreements, landlord agreements and warehouse letters) relating to the
           Collateral (as defined in the DIP Credit Agreement (or similar term defined therein)), any swap
           contracts or hedging agreements and such other loan documents, guarantees, instruments,
           certificates and documents as may be reasonably requested by any of the DIP Agents, the requisite
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           DIP Lenders or required by the DIP Orders, DIP Credit Agreement or any of the foregoing
           (collectively with the DIP Orders, the “DIP Documents”), with such changes, additions, and
           modifications thereto as any Authorized Signatory executing the same shall approve, such approval
           to be conclusively evidenced by such Authorized Signatory’s execution and delivery thereof;

                  FURTHER RESOLVED, that the incurrence of the liabilities and obligations arising from
           each DIP Order and each DIP Document by each Company party thereto, (i) is necessary and
           convenient to the conduct, promotion and attainment of the business of such Companies, and (ii)
           may reasonably be expected to benefit such Companies, directly or indirectly;

                   FURTHER RESOLVED, that each Company (other than TopCo, Group Holdings and
           Intermediate), as debtor and debtors-in-possession under the Bankruptcy Code be, and hereby is,
           authorized to incur the DIP Obligations, including the borrowing of the loans under the DIP Credit
           Agreement, and other obligations related to the DIP Financing and to undertake any and all related
           transactions on substantially the same terms as contemplated under the DIP Documents, including
           granting liens on and security interests in its assets, including the Collateral (as defined in the DIP
           Credit Agreement (or similar term defined therein)), to the DIP Agents or the Prepetition First Lien
           Agent and/or the Prepetition Mezz Agent to secure such obligations (collectively, the “DIP
           Transactions”);

                   FURTHER RESOLVED, that each of the Authorized Signatories of each Company (other
           than TopCo, Group Holdings and Intermediate), acting alone or with one or more other Authorized
           Signatories, be, and hereby is, authorized, directed and empowered in the name of, and on behalf
           of, each such Company, as debtors and debtors-in-possession, to take such actions as in their
           discretion is determined to be necessary, desirable, or appropriate to execute the DIP Transactions,
           including the negotiation, execution and delivery of: (a) the DIP Documents; (b) such other
           instruments, certificates, notices, assignments, and other documents, including, without limitation,
           any amendments to any DIP Documents, as may be reasonably requested by the DIP Agents; and
           (c) such forms of deposit account control agreements, officer’s certificates, and compliance
           certificates as may be required by the DIP Documents, in the name of and on behalf of each
           Company (other than TopCo, Group Holdings and Intermediate), with such changes therein as shall
           be approve by the Authorized Signatories executing the same, with such execution by said
           Authorized Signatory to constitute conclusive evidence of his or her approval of the terms thereof,
           including any departures therein from any form presented to the Governing Bodies of such
           Companies;

                   FURTHER RESOLVED, that each of the Authorized Signatories of each Company (other
           than TopCo, Group Holdings and Intermediate), acting alone or with one or more other Authorized
           Signatories, be, and hereby is, authorized, directed and empowered in the name of, and on behalf
           of, each such Company , as debtors and debtors-in-possession, to guarantee the DIP Obligations
           under the DIP Documents and to assign, transfer, pledge and grant to each DIP Agent or the
           Prepetition First Lien Agent and/or the Prepetition Mezz Agent, for the ratable benefit of the
           respective or applicable Secured Parties (as defined in the DIP Credit Agreement (or similar term
           defined therein)), a security interest in all or substantially all the assets of such Company, as
           collateral security for the prompt and complete payment and performance when due of the DIP
           Obligations under the DIP Credit Agreements, the DIP Orders, and the other DIP Documents to
           which such Company is a party or which it is subject to and to take or cause to be taken any such
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           actions as may be necessary, appropriate or desirable to cause the Companies (other than TopCo,
           Group Holdings and Intermediate) to create, perfect and maintain a security interest in such
           Companies’ property or assets constituting Collateral (as defined in the DIP Credit Agreement (or
           similar term defined therein)) as described or contemplated in the DIP Documents;

                   FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
           authorized and empowered to take all actions or to not take any action in the name of each Company
           with respect to the transactions contemplated by these resolutions, whether existing now or in the
           future, in each case, as such Authorized Signatory shall deem necessary or desirable in such
           Authorized Signatory’s reasonable business judgment, including without limitation, the
           authorization of resolutions and agreements necessary to authorize the execution, delivery and
           performance pursuant to the DIP Documents (including, without limitation, certificates, affidavits,
           financing statements, notices, reaffirmations and amendments and restatements thereof or relating
           thereto) as may be necessary, appropriate or convenient to effectuate the purposes of the
           transactions contemplated therein;

                   FURTHER RESOLVED, that each of the Authorized Signatories of each Company (other
           than TopCo, Group Holdings and Intermediate) be, and hereby is, authorized, directed, and
           empowered in the name of, and on behalf of, each Company (other than TopCo, Group Holdings
           and Intermediate) to file, or to authorize the DIP Agents to file, any Uniform Commercial Code
           (the “UCC”) financing statements, any other equivalent filings, any intellectual property filings and
           recordation, and any necessary assignments for security or other documents in the name each
           Company (other than TopCo, Group Holdings and Intermediate) that the DIP Agents or the
           Prepetition First Lien Agent and/or the Prepetition Mezz Agent deem necessary or appropriate to
           perfect any lien or security interest granted under the DIP Orders and the DIP Documents, including
           any such UCC financing statement containing a generic description of collateral, such as “all
           assets,” “all property now or hereafter acquired” and other similar descriptions of like import, and
           to execute and deliver, and to record or authorize the recording of, such mortgages and deeds of trust
           in respect of real property of each Company (other than TopCo, Group Holdings and Intermediate)
           and such other filings in respect of intellectual and other property of each such Company, in each
           case as the DIP Agents or the Prepetition First Lien Agent and/or the Prepetition Mezz Agent may
           reasonably request to perfect the security interests of the DIP Agents or the Prepetition First Lien
           Agent and/or the Prepetition Mezz Agent under the DIP Orders or any of the other DIP Documents;

                   FURTHER RESOLVED, that the pledge by the Companies (other than TopCo, Group
           Holdings and Intermediate) of the Pledged Equity (as defined in the DIP Credit Agreement or
           related security or pledge agreements (or similar term defined therein)) held by it, the transfer of
           such Pledged Equity (as defined in the DIP Credit Agreement or related security or pledge
           agreements (or similar term defined therein)) to the DIP Agents and any transfer from to time by
           the DIP Agents to any other person pursuant to the exercise of any rights under any collateral
           document and all steps required of any subsidiaries of the Companies (other than TopCo, Group
           Holdings and Intermediate) to give effect to such pledge and transfers, including the issuance of
           certificates of ownership and the entering of the names of any transferees onto such subsidiaries’
           equity holder registers, are hereby approved; and that each of the Authorized Signatories of each of
           the Companies (other than TopCo, Group Holdings and Intermediate) is hereby authorized,
           empowered and directed on behalf of such applicable Company, to execute and deliver any such
           other transfer documents or instruments;
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                   FURTHER RESOLVED, that each of the Authorized Signatories of each Company be, and
           hereby is, authorized, directed, and empowered in the name of, and on behalf of, each Company
           (other than TopCo, Group Holdings and Intermediate) to take all such further actions, including,
           without limitation, to pay all fees and expenses payable in accordance with the terms of the DIP
           Documents, to arrange for and enter into supplemental agreements, amendments, instruments,
           certificates or documents relating to the transactions contemplated by any of the DIP Documents
           and to execute and deliver all such supplemental agreements, amendments, instruments, certificates
           or documents in the name and on behalf of each of the Companies (other than TopCo, Group
           Holdings and Intermediate), which shall in their sole judgment be necessary, proper or advisable in
           order to perform such Companies’ obligations under of in connection with any of the DIP
           Documents and the transactions contemplated therein (execution by such Authorized Signatory to
           constitute conclusive evidence of such judgment), and to carry out fully the intent of the foregoing
           resolution. The performance of any such further act or thing and the execution of any such document
           or instrument by any of the Authorized Signatories of the Companies pursuant to these resolutions
           shall be conclusive evidence that the same have been authorized and approved by the Companies
           in every respect; and

                   FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
           authorized to execute and deliver to the DIP Agents or the Prepetition First Lien Agent and/or the
           Prepetition Mezz Agent, as applicable, and to perform the applicable Company’s obligations under,
           all other documents, certificates, instruments, agreements and writings including any interest rate
           swaps, caps, collars or similar hedging agreement and any financing statements (or amendments
           thereto) that may be contemplated by, or required in connection with, the DIP Documents, these
           resolutions and the transactions described herein and therein, and to do all such acts and things as
           any person hereinafter authorized to execute such documents on behalf of such Company
           determines to be necessary or advisable in connection with or as contemplated by, or for the purpose
           of giving effect to, or carrying out the provisions of, the DIP Documents, such determination to be
           conclusively evidenced by such person’s signature thereon or completion thereof, as applicable.

           General Resolutions

                   NOW, THEREFORE, BE IT RESOLVED, that the Authorized Signatories of each of the
           Companies be, and each of them hereby is, authorized, empowered, and directed to execute,
           acknowledge, verify, deliver, and file any and all such other agreements, documents, instruments,
           and/or certificates and to take such other actions as may be necessary, proper or appropriate in order
           to carry out the intent and purposes of any of the foregoing resolutions;

                   FURTHER RESOLVED, that each Governing Body of each Company has received
           sufficient notices of the actions and transactions relating to the matters contemplated by any of the
           foregoing resolutions, as may be required by the organizational documents of each Company, or
           hereby waive any right to have received such notices;

                   FURTHER RESOLVED, that each of the members of the board of managers, board of
           directors, restructuring committees, the sole member, the manager or the managing member, as
           applicable, hereby irrevocably waives notice of the time, place, and purposes of a Meeting and any
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           adjournments thereof, to the extent such notice is required by the applicable organizational
           documents of each Company;

                   FURTHER RESOLVED, that any and all actions heretofore or hereafter taken and expenses
           incurred in the name of and on behalf of any Company by any officer, director or other Authorized
           Signatory of any Company in connection with or related to the matters set forth or contemplated by
           any of the foregoing resolutions be, and they hereby are, approved, ratified, and confirmed in all
           respects as fully as if such actions had been presented to the Governing Bodies for approval prior
           to such actions being taken; and

                  FURTHER RESOLVED, that any Authorized Signatory of any of the Companies is hereby
           authorized to certify to third parties with respect to adoption of any of the foregoing resolutions in
           the form and substance satisfactory to them.

                                              [Remainder of page intentionally left blank]




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               The undersigned agree that this Omnibus Action by Written Consent in Lieu of a Meeting of
           the Governing Bodies shall be added to the corporate records of each Company and made a part
           thereof, and the undersigned further agree that the resolutions set forth hereinabove shall have the
           same force and effect as if adopted at a meeting duly noticed, held, called and constituted pursuant
           to each Company’s organizational documents and the applicable laws of the jurisdiction in which
           such Company is organized. Facsimile, scanned, or electronic signatures shall be acceptable as
           originals.

                                                    [Signature pages follow]




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                IN WITNESS WHEREOF, the undersigned has executed this Omnibus Action by Written
          Consent as of the date first written above.


                                                                      BOARD OF DIRECTORS OF OSG GROUP
                                                                      HOLDINGS, INC.:


                                                                      ____________________________________
                                                                      Timothy R. Pohl



                                                                      BOARD OF DIRECTORS OF OSG
                                                                      INTERMEDIATE HOLDINGS, INC.:


                                                                      ____________________________________
                                                                      Dean Cherry


                                                                      ____________________________________
                                                                      Brett Shroll



                                                                      BOARD OF DIRECTORS OF OSG
                                                                      HOLDINGS, INC. AND SOLE MEMBER
                                                                      OF THE RESTRUCTURING COMMITTEE
                                                                      OF OSG HOLDINGS, INC.:


                                                                      ____________________________________
                                                                      Dean Cherry


                                                                      ____________________________________
                                                                      Brett Shroll


                                                                      ____________________________________
                                                                      Timothy R. Pohl (as director and as sole member
                                                                      of the Restructuring Committee)



                                       [Signature Page to Omnibus Action by Written Consent
                                   (Chapter 11 Filing, Retention of Professionals and DIP Facility)]
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                                                                      SOLE     MEMBER       OF THE
                                                                      RESTRUCTURING COMMITTEE AND
                                                                      BOARD OF DIRECTORS OF OUTPUT
                                                                      SERVICES GROUP, INC.:


                                                                      ____________________________________
                                                                      Timothy R. Pohl



                                                                      BOARD OF DIRECTORS/MANAGERS OF
                                                                      TELEREACH, INC., THE PISA GROUP,
                                                                      INC.,   JJT     ENTERPRISES,   INC.,
                                                                      DOUBLEPOSITIVE          MARKETING
                                                                      GROUP, INC., NATIONAL BUSINESS
                                                                      SYSTEMS, INC., THE GARFIELD GROUP,
                                                                      INC., SOUTHDATA, INC., MANSELL
                                                                      GROUP       HOLDING       COMPANY,
                                                                      DIAMOND MARKETING SOLUTIONS
                                                                      GROUP, INC., APPLIED INFORMATION
                                                                      GROUP, INC., PAYMENTS BUSINESS
                                                                      CORP.    (F/K/A    PAYBOX    CORP.),
                                                                      NATIONAL     DATA     SERVICES   OF
                                                                      CHICAGO, INC., MANSELL GROUP,
                                                                      INC.,   GLOBALEX      CORPORATION,
                                                                      WHATCOUNTS,                    INC.,
                                                                      MICRODYNAMICS CORPORATION, PPS
                                                                      BUSINESS       CORPORATION,      E-
                                                                      STATEMENT.COM                CORP.,
                                                                      MICRODYNAMICS GROUP NEBRASKA,
                                                                      INC., AND METROGROUP PD-WI AND
                                                                      ACQUISITION, LLC:


                                                                      ____________________________________
                                                                      Dean Cherry


                                                                      ____________________________________
                                                                      Brett Shroll




                                       [Signature Page to Omnibus Action by Written Consent
                                   (Chapter 11 Filing, Retention of Professionals and DIP Facility)]
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                                                                      SOLE MEMBER OF WORDS, DATA AND
                                                                      IMAGES LLC:

                                                                      OUTPUT SERVICES GROUP, INC.


                                                                      By:
                                                                      Name: Dean Cherry
                                                                      Title: President and CEO



                                                                      SOLE MEMBER OF NCP SOLUTIONS
                                                                      LLC:

                                                                      PAYMENTS BUSINESS CORP.


                                                                      By:
                                                                      Name: Dean Cherry
                                                                      Title: President and CEO



                                                                      SOLE MEMBER OF MICRODYNAMICS
                                                                      TRANSACTIONAL MAIL, LLC:

                                                                      MICRODYNAMICS GROUP NEBRASKA,
                                                                      INC.


                                                                      By:
                                                                      Name: Dean Cherry
                                                                      Title: President and CEO




                                       [Signature Page to Omnibus Action by Written Consent
                                   (Chapter 11 Filing, Retention of Professionals and DIP Facility)]
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                                                                      MEMBERS OF THE RESTRUCTURING
                                                                      COMMITTEE OF OSG GROUP TOPCO,
                                                                      LLC:

                                                                      ____________________________________
                                                                      Timothy R. Pohl



                                                                      ____________________________________
                                                                      Steven J. Pully



                                                                      ____________________________________
                                                                      William J. Ruckelshaus




                                       [Signature Page to Omnibus Action by Written Consent
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                                                                      BOARD OF MANAGERS OF OSG GROUP
                                                                      TOPCO, LLC:


                                                                      ____________________________________
                                                                      Dean Cherry



                                                                      ____________________________________
                                                                      Steven J. Pully



                                                                      ____________________________________
                                                                      William J. Ruckelshaus



                                                                      ____________________________________
                                                                      Lonnie Mahrt



                                                                      ____________________________________
                                                                      Amy O’Brien-Bird



                                                                      ____________________________________
                                                                      John Tarascio



                                                                      ____________________________________
                                                                      Nick Seibert



                                                                      ____________________________________
                                                                      Timothy R. Pohl




                                       [Signature Page to Omnibus Action by Written Consent
                                   (Chapter 11 Filing, Retention of Professionals and DIP Facility)]
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                                                         SCHEDULE A

           Company
           OSG Group TopCo, LLC
           OSG Group Holdings, Inc.
           OSG Intermediate Holdings, Inc.
           OSG Holdings, Inc.
           Output Services Group Inc.
           Telereach, Inc.
           The Pisa Group, Inc.
           JJT Enterprises, Inc.
           DoublePositive Marketing Group, Inc.
           National Business Systems, Inc.
           The Garfield Group, Inc.
           SouthData, Inc.
           Words, Data and Images, LLC
           Mansell Group Holding Company
           Diamond Marketing Solutions Group, Inc.
           Applied Information Group, Inc.
           Payments Business Corp. (f/k/a Paybox Corp.)
           NCP Solutions, LLC
           National Data Services of Chicago, Inc.
           Mansell Group, Inc.
           Globalex Corporation
           WhatCounts, Inc.
           Microdynamics Corporation
           PPS Business Corporation
           E-Statement.com Corp.
           Microdynamics Group Nebraska, Inc.
           Microdynamics Transactional Mail, LLC
           Metrogroup PD-WI Acquisition, LLC




                                           Schedule A to Omnibus Action by Written Consent
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Fill in this information to identify the case:

Debtor name         OSG Holdings, Inc.

United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
             Schedule H: Codebtors (Official Form 206H)
             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
             Amended Schedule
             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

             Other document that requires a declaration       Corporate Ownership Statement; List of Equity Security Holders

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       10/15/2023                      X /s/ Keith A. Maib
                                                          Signature of individual signing on behalf of debtor

                                                            Keith A. Maib
                                                           Printed name

                                                            Chief Restructuring Officer
                                                           Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
